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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION


   UNITED STATES OF AMERICA

   v.                                                  Case No. 8:16-cr-353-T-30JSS

   PETER B. WILLIAMS


                          FORFEITURE MONEY JUDGMENT

          The United States moves (Doc. 150) pursuant to 18 U.S.C. § 982(a)(7) and

   Rule 32.2(b)(2), Federal Rules of Criminal Procedure, for a forfeiture money

   judgment in the amount of $1,406,171.00 against the defendant, representing the

   amount of proceeds he obtained as a result of the conspiracy to commit health

   care fraud as charged in Count One of the Indictment.

          Being fully advised of the relevant facts, the Court finds that as a result of

   the conspiracy to commit health care fraud, in violation of 18 U.S.C. § 1349, as

   charged in Count One of the Indictment, defendant Peter B. Williams obtained

   proceeds in the amount of $1,406,171.00.

          The Court further finds that under 21 U.S.C. § 853(p), as incorporated by

   18 U.S.C. § 982(b)(1), the United States is entitled to forfeit any property belonging

   to the defendant as a substitute asset to satisfy his money judgment.

          Accordingly, it is ORDERED that the motion (Doc. 150) of the United States

   is GRANTED.
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          It is further ORDERED that, pursuant to 18 U.S.C. § 982(a)(7) and Federal

   Rule of Criminal Procedure 32.2(b)(2), defendant Peter B. Williams is jointly and

   severally liable with his co-conspirators, upon their conviction, to the United States

   of America for a forfeiture money judgment in the amount of $1,406,171.00,

   representing the amount of proceeds obtained as a result of the conspiracy to

   commit health care fraud, in violation of 18 U.S.C. § 1349, as charged in Count

   One of the Indictment, for which he was convicted.

          In accordance with Rule 32.2(b)(4) and the defendant’s Plea Agreement

   (Doc. 99, p. 11), this order of forfeiture is final as to the defendant.

          The Court retains jurisdiction to effect the forfeiture and disposition of any

   substitute assets the government is entitled to seek, under 21 U.S.C. § 853(p), as

   incorporated by 18 U.S.C. § 982(b)(1), to satisfy the defendant’s money judgment.

          DONE and ORDERED in Tampa, Florida, on October 31, 2016.




   Copies furnished to:
   All Parties/Counsel of Record




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